                                  Case 18-20735       Doc 37     Filed 04/25/19     Page 1 of 4
                                                UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF MARYLAND
                                                           at Baltimore
                       IN RE:

                       Shilondra V. Harrison                                  Case No.: 18-20735
                                                                              Chapter 13
                                   DEBTOR(S)

                       Lakeview Loan Servicing, LLC, by M & T
                       Bank, Servicing Agent
                                  MOVANT
                                    vs.
                       Shilondra V. Harrison
                                  RESPONDENT(S)

                              MOTION SEEKING RELIEF FROM AUTOMATIC STAY AS TO THE
                            PROPERTY KNOWN AS 617MARKHAMROAD,BALTIMORE,MD21229
                              Lakeview Loan Servicing, LLC, by M & T Bank, Servicing Agent (hereinafter
                       MOVANT), by its undersigned counsel, files this MOTION SEEKING RELIEF FROM
                       AUTOMATIC STAY AS TO THE PROPERTY KNOWN AS
                       617MARKHAMROAD,BALTIMORE,MD21229, pursuant to 11 U.S.C. SECS. 362 which
                       is a core proceeding pursuant to 28 U.S.C. SEC. 157, and for reasons states as follows:


                                                                   ONE
                           That the above-named DEBTOR(S) initiated proceedings in this Court seeking relief
                       under Chapter 13 of 11 U.S.C. (herinafter "RESPONDENT(S)").

                                                                    TWO
                             That MOVANT is the holder and/or servicer of a Note secured by a Deed of Trust,
                       which encumbers the real property known as 617 Markham Road, Baltimore, MD 21229 (the
                       "property") (see attached Exhibit "A"), presently owned by one or more of the respondents, in
                       the approximate principal amount of $100,962.38, plus interest, late charges and other costs.
                       Said Instrument is recorded among the Land Records of Baltimore City, Maryland.


                                                                   THREE
                             That the RESPONDENT(S) is/are in default in payment of the Deed of Trust Note to
                       MOVANT; said default involving non-payment of FOUR (4) payment(s) for the period of
                       January, 2019, through April, 2019, in the amount of $3,075.18, plus late charges, plus any
                       additional payments and late charges thereon that may fall due after the filing of this motion,
 COHN, GOLDBERG &
   DEUTSCH, LLC        plus attorney's fees and costs.
  ATTORNEYS AT LAW
600 BALTIMORE AVENUE
      SUITE 208
                                                              FOUR
 TOWSON, MD 21204
                             That MOVANT believes and avers that its security interest concerning the property is
   410-296-2550
                       not adequately protected.
   File #: 443901
                                  Case 18-20735       Doc 37     Filed 04/25/19     Page 2 of 4
                                                                 FIVE
                             That the DEBTOR(S) has/have little or no equity in the property and the property is not
                       necessary to an effective reorganization.


                                                                  SIX
                             That MOVANT has been and continues to be irreparably injured by the Stay of S.
                       362(a) of the Bankruptcy Code which prevents the MOVANT from enforcing its right under
                       its Deed of Trust.

                             WHEREFORE, MOVANT, prays this Honorable Court grant the following relief:

                             A. That the Court enter an Order lifting the Stay of S. 362 to enable Lakeview Loan
                       Servicing, LLC, or its successors and assigns, to enforce its rights under its Deed of Trust,
                       which would enable it to foreclose on the property.

                             B. That the Court grant such other and further relief as may be necessary.


                                                                         ___________________________________
                                                                         /s/ Richard J. Rogers
                                                                         Richard J. Rogers, Esquire
                                                                         Cohn, Goldberg & Deutsch, LLC
                                                                         600 Baltimore Avenue, Suite 208
                                                                         Towson, MD 21204
                                                                         410-296-2550
                                                                         Fax: 410-296-2558
                                                                         Email: bankruptcyecf@cgd-law.com
                                                                         Federal Bar #: 01980 (MD)
                                                                         Attorney for Movant




 COHN, GOLDBERG &
   DEUTSCH, LLC

  ATTORNEYS AT LAW
600 BALTIMORE AVENUE
      SUITE 208
 TOWSON, MD 21204

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   File #: 443901
                                 Case 18-20735       Doc 37     Filed 04/25/19     Page 3 of 4


                                                 UNITED STATES BANKRUPTCY COURT
                                                  FOR THE DISTRICT OF MARYLAND
                                                            at Baltimore
                       IN RE:

                       Shilondra V. Harrison                               Case No.: 18-20735
                                                                           Chapter 13
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                       Lakeview Loan Servicing, LLC, by M & T
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                                  MOVANT
                                    vs.
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                                  RESPONDENT(S)

                                     * * * * * CERTIFICATION OF SERVICE * * * * *
                                                         ON
                              MOTION SEEKING RELIEF FROM AUTOMATIC STAY AS TO THE
                            PROPERTY KNOWN AS 617MARKHAMROAD,BALTIMORE,MD21229
                             I, the undersigned counsel of COHN, GOLDBERG & DEUTSCH, LLC, 600
                       BALTIMORE AVENUE, SUITE 208, TOWSON, MD 21204, certify that I am, and at all
                       times hereinafter mentioned was, 18 years of age and that on April 25, 2019, I served a copy of
                       the MOTION SEEKING RELIEF FROM AUTOMATIC STAY AS TO THE PROPERTY
                       KNOWN AS 617MARKHAMROAD,BALTIMORE,MD21229, by FIRST CLASS MAIL,
                       on the respondent(s) in this proceeding to:
                       Shilondra V. Harrison
                       617 Markham Road
                       Baltimore, MD 21229
                       and by ELECTRONIC FILING NOTIFICATION CM/ECF to:
                       respondent(s)' counsel:                          Nancy Spencer Grigsby, Trustee
                       Kim D. Parker, Esquire                           185 Admiral Cochrane Drive, Ste 240
                       2123 Maryland Avenue                             Annapolis, MD 21401
                       Baltimore, MD 21218




 COHN, GOLDBERG &
   DEUTSCH, LLC

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   File #: 443901
                                  Case 18-20735        Doc 37     Filed 04/25/19      Page 4 of 4

                       I certify under penalty of perjury that the foregoing is true and correct.

                       Executed on April 25, 2019                        /s/ Richard J. Rogers
                                                                         ___________________________________
                                                                         Richard J. Rogers, Esquire
                                                                         Cohn, Goldberg & Deutsch, LLC
                                                                         600 Baltimore Avenue, Suite 208
                                                                         Towson, MD 21204
                                                                         410-296-2550
                                                                         Fax: 410-296-2558
                                                                         Email: bankruptcyecf@cgd-law.com
                                                                         Federal Bar #: 01980 (MD)




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